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                    EXHIBIT B
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Appendix II: What Can Consumers Do After
                      Appendix II: What Can Consumers Do After a
                      Data Breach?



a Data Breach?

                      Figure 3 below provides information on actions consumers can take to
                      monitor for identity theft or other forms of fraud, protect their personal
                      information, and respond if they have been a victim of identity theft. This
                      information summarizes prior GAO work and comments of academic,
                      consumer organization, industry, and government experts. 1




                      1
                       GAO, Identity Theft Services: Services Offer Some Benefits but Are Limited in Preventing
                      Fraud, GAO-17-254 (Washington, D.C.: Mar. 30, 2017).




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                                      Data Breach?




Figure 3: What Can Consumers Do After a Data Breach?




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